
973 So.2d 579 (2008)
E.R., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D07-4041.
District Court of Appeal of Florida, First District.
January 7, 2008.
Rehearing Denied February 5, 2008.
Nancy A. Daniels, Public Defender, and M.J. Lord, Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, Anne C. Conley and Natalie D. Kirk, Assistant *580 Attorneys General, Tallahassee, for Appellee.
PER CURIAM.
Appellant, E.R., seeks review of the trial court's order committing him to a high-risk residential facility. Although Appellant is correct that the trial court, in deviating from the Department of Juvenile Justice's recommendation of probation, failed to refer to the characteristics of the chosen restrictiveness level vis-a-vis his needs, see L.B. v. State, 965 So.2d 1214, 1216 (Fla. 1st DCA 2007), defense counsel's general objection to the trial court's deviation did not preserve this argument for appeal. See F.B. v. State, 852 So.2d 226, 229 (Fla.2003) ("`[I]n order for an argument to be cognizable on appeal, it must be the specific contention asserted as legal ground for the objection . . . below.'") (citation omitted).
Accordingly, we AFFIRM the disposition order.
ALLEN, KAHN, and DAVIS, JJ., concur.
